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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 ABDULLAH HAYDAR,

       Plaintiff,                               Case No. 2:16-cv-13662-LJM-SDD
                                                Honorable Laurie J. Michelson
 v.                                             Magistrate Judge Stephanie Dawkins Davis

 AMAZON CORPORATE, LLC,
 GARRET GAW,
 PETER FARICY, and
 JOEL MOSBY,

       Defendants.


                                       JUDGMENT


       In accordance with this Court’s summary-judgment opinion (ECF No. 88), the parties’

 stipulation to dismiss Garret Gaw and Joel Mosby (ECF No. 154), and the jury’s verdict (ECF

 No. 151), it is ORDERED and ADJUDGED that this case is DISMISSED.

       SO ORDERED.

                                                 DAVID J. WEAVER
                                                 CLERK OF THE COURT


                                                 By:    s/Erica Karhoff
                                                        DEPUTY COURT CLERK

       APPROVED:


       s/Laurie J. Michelson
       LAURIE J. MICHELSON
       UNITED STATES DISTRICT JUDGE

       Dated: November 5, 2019
